Case 2:04-cv-09049-DOC-RNB Document 4776-11 Filed 02/05/09 Page 1 of 20 Page ID
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                       Austin !.escort
                       Clay Ghaut .
                       St. John's Parish
                       Nevis

                       Dear Sir
                       RL: }'N)"URiV1AT1O1rI IiEO^"^T);D ON 12'x' pcecmbcr.200$
                       In connection with the above, we advise as follows:

                       ^:^nct Cr^rnpany Nama:                              1~E7ilNG'fON r]NANGIAL LlMI1'ED
                       7)xtc of Yrtcorporativn:                            03`^ March, 2006
      ""^              Company Number:                                     C 2984$
     _...^             ll2egistcred Agent & Addxcss; ^                    Trust Services Nevis Litaiiied
                                                                          Springetes }3aitdiug
                                                                          Government Road, Charlastawn, Nevis
                                                                          Telephone l^u^nber: ! (R69) 469-7270/1
                                                                          Fax Number: i (869) 469-7272

                       Shares:                                             100,000 shares with par value USIlS1.00
                       Status (standing, etc.):                            The Company is in Goad Standing

                       Public Record Dacurnertts {Ar3: Of lfna/Org., Amendments, etc): FILED

                       There are na charges, liens, mortgages ar encumbrances filed for or on behalf of the company
                       and/or its shareholders. Also note that int'ormatian on directors, shareholders, officers,
                       Freneficial owners, annual raturns acrd financial statements are not required to be 61ed by law.
                       Conseggently, such ittfaxxnatian is riot availabIc.

                       Sitoirld you recluirc any Further inf               atian, please do not hesitate to contact us.
                       Yours sincerely,                                                                                   .


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                                     Tel: 1(869) 469-1469 • 1(869) 4b9-5521 lxt. 2154 + Fax: !(864) 469-7739
                                          Webslie: www. aevisrioa^lce.GOm ^ .FimAtl: nevliaQsisterisles.kn




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                            EXHIBIT 19
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  1  THOMAS J . NOLAN {Bar No. 66992)
     (trtolan ,skadden.corn)
 2               . ^`Y Bar No. 40892)
      rkenned      skadden.com^
 3                            ar No. 169219)
   i 'russell skadden.corn
 4                           ATE, MEAGHER & FLOM LLP
     300 South Grand Avenue, Suite 3400
 5 Los Angg eles, CA 90071-3144
      Tel.: 213 687-5000
 6 Fax: ^213^ 687-5600
 7 Attorneys for The MGA Parties

                                     UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
10                                            EASTERN DIVISION                        '
11    CARTER BRYANT, an individual,                          CASE NO. CV 04-9049 SGL (RNBx)
12'                                  Plaintiff,              Consolidated with Case Na. 04-9059
                                                             and Case No. 05-2727
13               V.
                                                             Honorable Stephen G. Larson
14 MATTEL, INC., a Delaware corporation,
                                                             {1}     MGA PARTIES' CORRECTIONS
15                                   Defendant.                      TO THE OPPOSITION TO
                                                                     MATTEL, TNC.'S ^YPAI^TE
16                                                                   APPLICATION FOR
17 ^I AND CONSOLIDATED ACTIONS.                                      APPOINTMENT OF A RECENER
                                                                     OR FOR ALTERNATPVE RELIEF;
18                                                           FILED UNDER SEPARATE COVER:

19 CONFIDENTIAL -ATTORNEYS'                                  {2)     DECLARATION OF BRIAN VYING
                                                                     IN SUPPORT THEREOF sunder
20                                                                   seal].
      FILED UNDER SEAL PURSUANT
21
                                                             Hearing Date:            January S, 2008
22.                                                          Time:                    10:00 AM
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28                                                                  r^^^   ..__.^.^^_-ate
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               parties' Corrections to the Opp ' n To Mattel' s Ex Purte Appl. l:ot Appointment Of A 1
                                          Case No. CV 04-9049 SGL (RNBx}
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 ^^                                     PRELYMXNARY STATEMENT
 2           The MGA Parties respectfully submit this memorandum to correct an unintended
 3 erroneous factual assertion made in their opposition to Mattel's ex pane application seeking
 4 appointment of a receiver or alternative relief, f led early yesterday morning with this Court.
 5 The MGA Parties also wish to modify their position concerning Mattel's request ^ for
 6 expedited discovery in light of the Court's comments at the December 30 hearing. In all
 7 other respects, the MGA Parties stand behind their apposition brief and maintain that the
 8 impositiori of a receiver is not warranted and Mattel's ex parse application should be denied.
 9           A:t page 2, lines 23 to 24 of their Opposition, the MGA Parties asserted that a third
10 party creditor called Omni $08 International, LLC ("Omni") "did nothing more than step
11 into the shoes of Wachovia by purchasing its security interest. This entity did not extend
12 any new credit to MGA." (Opp'n at 2:23-24 (emphasis in original).} It made similar
13 statements at page 3, lines 1 to 2, at page 7, lines 24 to 25, and at page 9, lines 23 to 24.
14 Since the filing of this Opposition, counsel has learned that after the jury's verdict in Phase
15 1 b but before the Court granted a permanent injunction, constructive trust and declaratory
16 relief on December 3rd, Omni did in fact enter into a Secured Delayed Draw Demand Note
17 as of October 16, 200$ (the "Note"}. See Declaration of Brian Wing ^ 3.) Under the terms
18 of the Note, if MGA satisfied certain terms and obligations, $40 million was available to
19 draw upon. (Id.) MGA drew down $b million under the Note on October 17, 2008. Id. ¶ 4.)
20 At some point thereafter, MGA was declared in default under the Note and Omni has not
2X extended and will not extend further credit to MGA. Ld. ¶ 5.}^
22           As soon as MGA's counsel learned o£ this inadvertent error, it contacted counsel for
23
24 ^          As the Court is ar^vare, Mattel filed its ex parse at 4:10 a.m. the day before the hearing on
      MGA's rnotion to stay.. Given the serious allegations made, the exigent circumstances, and the fact
25    that 1viGA was still finalizing its voluminous submissions in support of its motion to stay, MGA
      sought leave of Court to f le its opposition on the afternoon of December 30th. The Court's clerk
26    called to inform MGA at 4:20 p.m. that an opposition had to be filed within 24 hours of Mattel's
      filing {or 4:10 a.m. on December 30th) so that the issue would be briefed in time for the 10:04 a.m.
27
      hearing an MGA's motion for a stay. Despite at that point having less than 12 hours to do so,
2s    MGA's counsel prepared and timely filed an opposition to Mattel's exparte application.


                 A Parties' Corrections to the Opp'n To Mattel 's Ex Porte Appl. For Appointment Of A Receiver
                                              Case Na. Cv (149049 SGL {RNBx}           ^^^: ^^ _..^___^.__.


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 1 Mattel to alert them to the error and stipulated to allow Mattel additional time to prepare its
 2 reply in support of the ex pane application. (See Dkt. Nos. 4596 {Stipulation} and 4596-2
 3 ([Proposed] Order.) Despite this error, the fundamental point made in the MGA Parties'
 4 opposition remains correct, a receiver is an extraordinary remedy that should not be
 5 imposed here for the reasons stated in MGA's Opposition. (Opp'n at 3-4, 13- i 7.) Moreover,
 6 MGA's position concerning Omni also remains correct; due to the entry of the Court's
 7 December 3rd Orders and the threat that they will be enforced soon, MGA cannot obtain
 S new credit and its existing creditors are threatening to rescind their credit arrangements with
 9 MGA. (Se^e.gT, Wing Decl. Ex. B at 4 {discussing impact of Court's Orders on MGA).)
10         In opposuxg Mattel's ex pane, the MGA Parties took the position that no discovery
11 was needed or appropriate. They continue to believe that is true. However, at the December
12 30th hearing, in response to arguments made by Mattel, the Court expressed the view that:
13       ...the finances of MGA, ^] at this point, quite frankly, are a mystery to the Court.
14       And that mystery was compounded in part by what I read on appeal, what I've
15       heard from counsel, what I've seen in other papers. I just don't know what
16       exactly is going on with all of that, and I want to explore that at Monday's
17       hearing on that motion.
1S {12130 Hearing Transcript at 57:11-1 S.}
19         Although the MGA Parties respectfully submit that, for the reasons they set forth in
20 their ex pane opposition, Mattel did not come close to showing that MGA's finances were
21 such that the limited assets as to which Mattel has a legal entitlement (the Bratz intellectual
22 property and the damages award after remittitur} are at risk, MGA wishes to assuage the
23 Court's concerns ,and remove any "mystery" sa that Mattel's charges can be shown to be
24 groundless,     Moreover, MGA wishes to remove this "mystery" because Mattel is using
25 MGA's legitimate right to confdentiality of its financial status to harm MGA in the
26 community by re-publishing the charges made in Mattel's ex pane application, which has
27 caused vendors, retailers, suppliers, and creditors to express concezn about MGA's viability
28 even if the Court's December 3rd Orders are stayed for the entirety of 2009.
                                                          2
           MGA Parties' Corrections to the Opp'n Ta Mattel's F.'x Pane Appl. Por Ap   i trnent OfA Receiver
                                         Case Na. CV 04-9049 SGL {RN$x)         ^^^t ^^ ^ ^ ----.._.__w_-------_...^_ -----....
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 Case 2:04-cv-09049-DOC-RNB Document 4776-11 Filed 02/05/09 Page 7 of 20 Page ID
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 1         Consequently, the MGA Parties wish to modify their position on the discovery sought
 2 in Mattel's ex parte application as follows.                      First, MGA proposes that a reputable third-
 3 party independent auditor be appointed by this Court to evaluate and audit MGA's financial
 4 status, the contours and timing-of which can be discussed at the heazing on January 5th but
 5 the findings of which would have to remain Attorneys' Eyes Only. In the interest of
 6 reducing expense and effort to both parties, MGA proposes that auditor be Emst & Young,
 7 the accounting firm currently retained by MGA to prepare its financial statements because
 S. those accountants are obviously very familiar with MGA's finances. In making this
 9 proposal, .MGA emphatically d
                               _ enY that such action is merited by any prior bad acts or
10' fraudulent conduct on the part of MGA Parties -and, to be clear, there is no such conduct.
11 ^I The only reason that MGA is making this proposal is to lay to rest any uncertainty this
12 Court may have without resorting to expensive and invasive discovery and to put to an end,
13 once and for all, Mattel's groundless accusations concerning MGA's financial status.
14         Second, to eliminate any suggestion of financial impropriety during the pendency of
15 the audit, MGA is willing to agree to a temporary order prohibiting MGA or Isaac Larian
16 from taking any action to make any sizeable distributions of MGA 's revenues and/or assets
17 or engaging in any transactions resulting in the dissipation of said assets or revenues while
18 the third-party audit is being conducted. Again, the precise contours of this proposal can be
19 discussed at the January 5th hearing; the only absolutely critical component is that the terms
2D of that order be confidential because the very knowledge of such an order will dramatically
zx harm MGA's status in the market place and upset the status quo that the Court was trying to
22 maintain when it acted as it did at the December 30th hearing. This order would give both
23 Mattel and the Court comfort that Mattel's interests in enforcing its monetary judgments
24 ', will be protected without the extraordinary (and MGA, would maintain, completely
25 unjustified} appointment of a receiver.
26         Third, no depositions or document discovery of any kind should be permitted to be
27 taken by Mattel concerning the finances of MGA during the pendency of the audit. If, after
281 the accountants complete their ,report, there are issues that Mattel has with that report or any
                                                                 3
           MGA Parties ' Corrections to the Opp'n To Matte l's Ex Parte Appi. For Appointment Of A Receiver
                                          Case No. CV 04-9049 SGL (RNBx}
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 1 findings therein, .the parties can revisit the issue. To allow otherwise would impose
 2 duplicative and, more importantly, very costly discovery burdens on MGA at a time when it
 3 is faced with financial difficulties arising out of the existence of the December 3rd Orders. .
 4                                             CONCLUSION
 5        The MGA Parties respectfully submit the above corrections and proposals and
 6 reiterate their request that Mattel's ex parte request for appointment of a receiver and
 7 alternative request for expedited discovery be denied.
 8 DATED: December 31, 2008 SKADDE^NyARPS, SLATE, MEAGHER & FLOM LLP
 9
10                                                            Thomas J. Nolan
                                                        Attorneys for the MGA Parties
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      Case 2 . 04-cv-09049 --^^L-RNB Document 4682 Filed'tti /12/2009 Page ^ of 4




                                                UNITED STATES DISTRICT COURT
                                               CENTRAL DISTRICT OF CALIFORNIA

  MATTEL, INC.,                                                       CASE NUMBER
                                                                                          2:04-CV-fl9049 SGL
                                                  PLAINTIFF{S},
                    v.
  MGA ENTERTAINMENT, INC.,
                                                                                     NOTICE OF CLERICAL ERROR
                                                DEFENDANT(S),

  TO:      U. S. District Judge(s)
           U. 5. Magistrate .lodge(s)
           Counsel of Record

  You are hereby notified that due to a clerical en•or ❑ documents associated with the Fling of the new action ❑ the following
  scanned document ^ docket entry have/has been corrected as indicated below.
  Title of Scanned Document: Minute Order                                                              _..
  Filed Date: 1112/09                                             Document Number:       Docket 4681

  ❑     Incorrect case number                                                      was assigned to this ❑ action ❑ document.
  i^    Case number has been corrected. The correct case number is
  ❑     Incorrect judge's initials were indicated on this ❑ action ❑ document. The correct judge's initials are

  ❑     Incorrect magistrate judge's initials were indicated on this ❑ action ❑ document . The correct magistrate judge 's initials
         arc
  ❑     Case has been reassigned from ❑ Judge ❑ Magistrate Judge                                                                       to

         ❑ Judge ❑ Magistrate Judge                                       .The initials of the new j udge{s} are

  ❑     Case was assigned to ❑ Western ❑ Southem ❑ Eastern division. Pursuant to General Order ❑ 349, ❑ 98-3 ❑ p2-pb,

         the case has been reassigned to the ❑ Western ❑ Southem ❑ Eastern division . The former case number
         has been reassigned to new case number

  ❑     Subsequent documents must be filed at the ❑ Western ❑ Southern ❑ Eastern division . Failure to file at the proper location
         will result in your documents being returned to you.
  ❑     Case title is corrected from                                                to
  ❑     Document has been re-numbered as document number
  ❑     incorrect ❑ Filed Date ❑ Date of Document ❑ ENTERED Date ❑ DATE ENTERED ON CM/ICMS was stamped on
         document. The corcect date is
  ❑      Document is missing page numbers}:
  ❑     To ensure proper routing of documents, all documents filed with the court must rellcct the following case number and judge's
         initials:
         Other: the imaged copy for the about-referenced docket No. 468I , is hereby attached



                                                                          CLERK, U.S. DISTRICT COt1RT

  Date 1/12109                                                            gy;                     Jim Holmes, CRD
                                                                                   Deputy Clerk
   cc: Intake Supervisor /Deputyln Charge



  G-t 1 (^b105)                                        NOTICE OF CLEItICAI . ERROR          ^^^ `^ ^ ^                     *L
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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                        3470 Twelfth Street, Riverside, CA 92501
                                             CIVIL MINUTES -- GENERAL

           Case No.      CV 04-09049 5GL( RNBx)                                          Date: January 12, 2009
           Title:        MATTEL, INC. V. MGA ENTERTAINMENT, 1NC., e# al.

           PRESENT:      HONORABLE STEPHEN G. CARSON, U.S. DISTRICT JUDGE

                         ,lim Hounds                                       None Present
                         Courtroom Deputy                                  Court Reporter

           ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:

            None Present                                          None Present

           PROCEEDINGS:         ORDER RE: MGA PARTIES' OBJECTION TO PHASE TWO DISCOVERY
                                MASTER ROBERT O'BRIEN

                                 ORDER STRIKING OBJECTION FROM RECORD

                                 ORDER RE : REQUEST FOR APPROVAL OF SUBSTITUTION OiF
                                 COUNSEL

                    The Court has received and reviewed the document captioned MGA Parties' Objection to
            Phase Two Discovery Master Robert O'Brien . In the document, filed by attorneys of Glaser Weil
            Fink Jacobs & Shapiro and Mitchell , Silberberg ^ Knupp, MGA purportedly objects to the
            Discovery Master on the ground that his law office, Arent Fox, previously represented three
            third-party witnesses in this matter (Margo Eldridge , Charlotte Broussard , and Andrew Gallerani;
            collectively, the "Eldridge witnesses" ). The Court does not sustain this objection to the Discovery
            Master.

                   First, the objection was not submitted by MGA's counsel of record -- namely, the law firm of
            Skadden, Arps for MGA Entertainment, Inc., MGA Entertainment (HK} Limited, MGAE de Mexico
            S.R.L. de C.V., and Isaac Larian. Accordingly, the objections are HEREBY STRICKEN from the
            record. Because no timely objections to the appointment of Mr. O'Brien as Discovery Master were
            submitted pursuant to the Court`s December 3, and December 5, 200$, Orders, any and all such
            objections are waived and the parties are deemed to have consented to the appointment of Mr.

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O'Brien as Discovery Master.

       Second, notwithstanding the above, the Court observes that Arent Fox previously
represented the Eldridge witnesses was disclosed to the MGA parties by the court--appointed
Settlement Officer, Ambassador Pierre Prosper, as well as by Mattel in a letter dated October 24,
2aa7'. Notwithstanding that disclosure, copnsel for the MGA parties expressly stated, in their in
camera submissions to the Court, that the MGA parties had no ob}action to the appointment of Mr.
O'Brien as the Discovery Master; specifically, they s#ated "[s]ubject to their preference for a federal
magistrate, the MGA parties have no objection #o Mr. O'Brien." Accordingly, the singular objection
noted in the stricken document was also previously waived.

        Third, in the interest of insuring that no conflict of interest or grounds for disqualification
exists, the Court promptly disclosed the putative objection set forth in the stricken document to the
Discovery Master and directed him to respond to the objection and to serve that response on the
Court and lead counsel of record . The Court has received and reviewed the Discovery Master's
letter dated January 9 , 2009, responding to said objection . Having considered the Discovery
Master's response , the Court finds that the objection is not well-taken . Thus, even if it were timely
filed by counsel of record and had not been previously waived , the objection would be
OVERRULED.

       Fourth, to avoid any subjective concern, the Court ORDERS the parties to refer any
discovery disputes directed to the Eldridge witnesses, if any should arise, to the Court and not to
the Discovery Master, All other discovery matters shall be referred, in the first instance, to the
Discovery Master.

       The Court has also received and reviewed the Request for Approval of Substitution of
Counsel. The Request seeks the Court's approval of "the substitution of Patricia L. Glaser of
Glaser Weil Fink Jacobs & Shapiro LLP and Russell Frackman of Mitchell, 5ilberberg & Knupp
LLP as attorneys of record in place and stead of 5kadden, Arps, Slate, Meagher & Flom LLP for
any and all matters relating to Phase 2 of the proceedings in the above-referenced actions before
this Court," with Skadden, Arps to "remain counsel of record for the purpose of all remaining
Phase 1 proceedings be€ore this Court, including the pending motions scheduled to be heard on
February 11, 2aa9, and any further matters relating to the December 3, 2aa8, Orders."

       Although the Court might be inclined to approve additional counsel associa#ing in on behalf
of the MGA parties, or separate counsel for separate parties, the Court is disinclined to approve
separate lead counsel #or the same party or parties divided between the two "phases" of the same,
consolidated case. To do so, the Court is concerned, would delay proceedings and vastly
complicate the Court's management of an already complicated case, as well as raise numerous
questions concerning a number of pending motions that relate to the second phase: The Court is
also concerned that proposed counsel Ms. Glaser, who previously sought and obtained approval
€rom the Court to be removed as counsel of record for the MGA parties, was referenced by MGA
as a witness in an earlier trial in this case and, given the basis #or her being described as a witness
#o the Court, may welt be a witness in a.future hearing and/or trial in this case.

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        To address these and other concerns, the Court ORDERS all lead counsel, all proposed
counsel, and the Discovery Master to appear for a status conference on Wednesday, January 14,
2009, at 1:00 p.m. The directives of the discovery master are not suspended pending resolution
of this matter.

      IT IS SO OR©ERED.




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                            EXHIBIT 22
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                               REDACTED




                               SUBJECT TO




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                             EXHIBIT 23
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                           REDACTED




                          SUBJECT TO




                PROTECTIVE ORDER
